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   STROJNIK v. KAPALUA LAND COMPANY LTD
   Civ. No. 19-00077 SOM-KJM.                                                                                                 Email | Print | Comments (0)


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    PETER STROJNIK, Plainti , v. (1) KAPALUA LAND COMPANY LTD dba THE KAPALUA VILLAS MAUI (Defendant 1); (2) RICHARD RAND and MARR JONES
    WANG, a Limited Liability Partnership (Defendant 2), Defendants.


   United States District Court, D. Hawaii.

   August 26, 2019.

   Editors Note
   Applicable Law: 42 U.S.C. § 12101
   Cause: 42 U.S.C. § 12101 Violation of Americans with Disabilities Act
   Nature of Suit: 446 Civil Rights: Americans with Disabilities - Other
                                                                                                                                                Source: PACER



   Attorney(s) appearing for the Case
   Peter Strojnik, Plainti , pro se.

   Richard Rand, Defendant, represented by Megumi Sakae , Marr Jones & Wang.

   Richard M. Rand, Defendant, pro se.

   Marr Jones Wang, a limited Liability Partnership, Defendant, represented by Megumi Sakae , Marr Jones & Wang & Richard M. Rand , Marr Jones &
   Wang.




   FINDINGS AND RECOMMENDATION TO DISMISS ACTION

   KENNETH J. MANSFIELD, Magistrate Judge.

   Plainti Peter Strojnik ("Plainti ") led a Notice of Withdrawal of FAC and Motion for Leave to Amend Complaint on May 6, 2019 ("Motion for Leave"),
   ECF No. 31, requesting leave to amend his February 13, 2019 complaint ("Complaint") led against Kapalua Land Company LTD dba the Kapalua Villas
   Maui ("Kapalua") and Kapalua's counsel, Richard Rand and Mr. Rand's law rm, Marr Jones & Wang, a limited liability partnership (collectively, "Law
   Defendants"). See ECF No. 1. Plainti 's Motion for Leave seeks to add Outrigger Hotels and Resorts aka Outrigger Enterprises Group ("Outrigger") as a
   defendant because Plainti believes that Outrigger owns the property that Plainti alleges is in violation of the Americans with Disabilities Act in his
   proposed First Amended Complaint. ECF No. 31 at 1. Law Defendants led their opposition on May 24, 2019 ("Opposition"). See ECF No. 35. Plainti did
   not le a reply.

   The Court elected to decide this matter without a hearing pursuant to Local Rule 7.2(d) of the Local Rules of Practice for the United States District Court
   for the District of Hawaii. After carefully considering the Motion, the Opposition, the record in this case, and the applicable case law, the Court DENIES
   the Motion for Leave, and FINDS and RECOMMENDS that the district court dismiss this action for the reasons stated in this order.



   BACKGROUND
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   The district court provided the salient facts in this case in its May 8, 2019 Order Granting Defendants Richard Rand and Marr Jones & Wang LLP's
   Motion to Dismiss ("May 8, 2019 Order"). See ECF No. 32. Brie y stated, Plainti alleged claims in his Complaint against Kapalua in connection with a
   website that provided reservation services for a lodging business purportedly owned by Kapalua in Lahaina, HI ("Property"). See ECF No. 25 at 2.
   Plainti has never visited the Property; however, Plainti alleged he was deterred from visiting the Property because the third-party hotel booking
   website at issue failed to su ciently describe various accessible and inaccessible elements at the Property. ECF No. 4.

   Plainti alleged ve counts against Kapalua, including a claim under: (1) 42 U.S.C. Chapter 126, the Americans with Disabilities Act ("ADA"); (2) Hawaii
   Revised Statutes ("HRS") Chapter 489; (3) Restatement (Second) of Torts § 551 for "nondisclosure"; (4) HRS Chapter 480 for consumer fraud; and (5)
   Hawaii law for negligence per se. See ECF No. 1. In addition, Plainti alleged one count against Law Defendants for their alleged violation of 42 U.S.C. §
   12203(b) and 28 C.F.R. § 36.206, in connection with certain letters exchanged between Law Defendants and Plainti , in which Mr. Rand allegedly
   threatened to contact the Arizona State Bar regarding Plainti 's claims against Kapalua. ECF No. 32 at 4. Plainti was formerly a licensed attorney with
   the Arizona State Bar. ECF No. 25 at 26.

   On March 15, 2019, Kapalua led a motion for summary judgment requesting judgment in its favor as to all claims brought by Plainti in his Complaint.
   See ECF Nos. 8-9. Law Defendants led a motion to dismiss on the same day, requesting dismissal of all claims brought by Plainti against them in
   Plainti 's Complaint. See ECF No. 11. On April 26, 2019, Plainti and Kapalua stipulated to dismiss with prejudice all claims against Kapalua, which was
   approved by the district court on April 26, 2019. See ECF No. 22.

   On April 29, 2019, Plainti  led a First Amended Complaint ("FAC"). The district court led an order regarding the propriety of the FAC on May 1, 2019,
   prompting Plainti to subsequently le his Motion for Leave on May 6, 2019, in which Plainti simultaneously seeks to withdraw the FAC and obtain
   leave to le the same FAC. See ECF No. 31.

   On May 8, 2019, the district court granted Law Defendants' motion to dismiss ("May 8, 2019 Order"). See ECF No. 32. The district court concluded that
   Law Defendants did not violate § 12203 or 28 C.F.R. § 36.206. Speci cally, the district court concluded that the Complaint did not allege a § 12203 injury
   as required under the Ninth Circuit decision in Brown v. City of Tuscon, 336 F.3d 1181, 1192 (9th Cir. 2003) (holding that "conclusory allegations—
   without more— are insu cient to state a violation of [42 U.S.C. § 12203]"; rather, "[a]n ADA plainti must also demonstrate that [he] has su ered a
   `distinct and palpable injury' as a result of the threat") (quoting Walker v. City of Lakewood, 272 F.3d 1114, 1123 (9th Cir. 2001)). ECF No. 32 at 14-16. The
   district court declined to dismiss Plainti 's Complaint, however, nding that it was "not clear that amendment would be futile at this point." ECF No. 32
   at 17. The district court referred the Motion for Leave to this Court, explicitly providing that the district court "does not here indicate whether that
   motion should be granted." Id. at 18.

   Plainti   led a Motion for New Trial Under Rule 59 and Motion for Relief under Rule 60 and Motion to Clarify on May 23, 2019, which the district court
   denied on June 17, 2019. See ECF Nos. 36, 38.



   DISCUSSION

   As explained by the district court, "[i]n the usual case, [the district] court freely grants leave to le amended complaints that cure de ciencies. Leave to
   amend may be denied, [however,] when further amendment would be futile." ECF No. 32 at 17 (citing Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522,
   532 (9th Cir. 2008); Gardner v. Martino, 563 F.3d 981, 990 (9th Cir. 2009)). "For purposes of assessing futility on [a motion for leave to amend], the
   legal standard is the same as it would be on a motion to dismiss under FRCP 12(b)(6)." Green v. Mercy Hous., Inc., No. C 18-04888 WHA, 2019 WL
   1255020, at *1 (N.D. Cal. Mar. 19, 2019) (citing Miller v. Ryko -Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988), overruled on other grounds by Ashcroft v.
   Iqbal, 556 U.S. 662 (2009) ("[A] proposed amendment is futile only if no set of facts can be proved under the amendment to the pleadings that would
   constitute a valid and su cient claim or defense.")).

   Plainti 's proposed FAC alleges that the third-party website at issue ("the Website") disclosed the general availability and description of the Property.
   ECF No. 25 at 3. Plainti asserts that the Website failed, however, to identify and describe mobility-related accessibility features and guest rooms with
   enough detail to reasonably permit Plainti to independently assess whether the Property met his accessibility needs. Id. at 4. Plainti contends that
   this failure constitutes a violation of the ADA and Hawaii law, i.e., HRS Chapter 489, nondisclosure, HRS Chapter 480, and negligence per se. Plainti 's
   proposed FAC also re-alleges his claim against Law Defendants for their alleged violation of § 12203 and 28 C.F.R. § 36.206. Id. at 14.

   For the reasons discussed in this order, the Court nds that the federal claim in Plainti 's proposed FAC is legally insu cient, and thus, would be
   unable to withstand a Federal Rule of Civil Procedure 12(b)(6) motion. Accordingly, permitting Plainti leave to le his proposed FAC would be futile.
   See Ill. Nat'l. Ins. Co. v. Nordic PLC Constr., Inc., No. CIV. 11-00515 SOM-KSC, 2013 WL 1337007, at *5 (D. Haw. Mar. 28, 2013) ("When a court denies
   leave to amend on the ground of futility, it means that the court has reached the legal conclusion that the amended complaint could not withstand a
   Rule 12(b)(6) motion."). In addition, given the lack of original jurisdiction, the Court FINDS and RECOMMENDS that the district court also dismiss the
   state law claims for lack of jurisdiction.



   I. Claim Against Law Defendants

   First, the Court nds that further amendment of Plainti 's § 12203 claim against Law Defendants is futile. It is unlawful under § 12203 to "coerce,
   intimidate, threaten, or interfere with any individual in the exercise or enjoyment of" any right granted or protected by the ADA. 42 U.S.C. § 12203(b). 28
   C.F.R. § 36.206 mirrors § 12203. Both Plainti 's Complaint and his proposed FAC allege that Law Defendants violated § 12203(b) and 28 C.F.R. § 36.206
   in a February 11, 2019 letter Mr. Rand sent in response to an email Plainti sent to Mr. Rand. ECF No. 25 at 15-16.

   The district court issued its May 8, 2019 Order before Plainti     led his Motion for Leave. The district court analyzed the correspondence exchanged
   between Plainti and Law Defendants in the May 8, 2019 Order and explained to Plainti the de ciencies with his claim against Law Defendants.
   Speci cally, the district court found that no threat was included in the correspondence in which Plainti alleges Law Defendants threatened "to le
   charges against Plainti with the Arizona State Bar for Plainti 's exercise of his rights under the ADA." ECF No. 1 at 14 ¶ 79.

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   Plainti did not, however, make any amendments to his claim against Law Defendants, despite the district court's ndings in the May 8, 2019 Order.
   Plainti fails to point to any other facts indicating that Law Defendants interfered with Plainti 's exercise of his rights or that Law Defendants
   intimidated or coerced Plainti into refraining from exercising his rights. Moreover, Plainti did not le another motion for leave to amend the
   Complaint to cure the de ciencies identi ed by the district court, namely, to submit further facts demonstrating Law Defendant's alleged "threats."
   Finally, Plainti a rmatively declined to address any of Law Defendants' arguments in their Opposition regarding the de ciencies with Plainti 's
   allegations relating to Law Defendant's violation of § 12203 claim. See ECF No. 39 ("Plainti has reviewed Defendants Richard M. Rand and Marr Jones
   & Wang LLP's Memorandum in Opposition to Plainti s Motion for a New Trial (Doc 37) and has concluded, respectfully, that a Reply Brief would be
   super uous; therefore, Plainti will not submit one.").

   Plainti does not allege any additional facts in his Motion for Leave or his proposed FAC supporting the existence of a "distinct and palpable injury"
   that the district court concluded Plainti is required to demonstrate under § 12203. Accordingly, the § 12203 claim against Law Defendants could not
   withstand a Rule 12(b)(6) motion. Permitting Plainti leave to le his FAC against Law Defendants would thus be futile.



   II. Plaintiff's ADA Claims Against Outrigger

   Title III of the ADA prohibits discrimination in places of public accommodation on the basis of disability. To wit, "any person who owns, leases (or
   leases to), or operates a place of public accommodation" must provide "full and equal enjoyment of the goods, services, facilities, privileges,
   advantages, or accommodations of any place of public accommodation[.]" 42 U.S.C. § 12182(a). The accompanying regulations related to reserving
   places of lodging, 28 C.F.R § 36.302(e), requires that a "public accommodation that owns, leases (or leases to), or operates a place of lodging" must
   comply with a number of requirements "with respect to reservations made by any means," including when such reservations are made through a third-
   party. 1 In particular, § 36.302(e)(1)(ii) requires that public accommodations "[i]dentify and describe accessible features in the hotels and guest rooms
   o ered through its reservations service in enough detail to reasonably permit individuals with disabilities to assess independently whether a given hotel
   or guest room meets his or her accessibility needs."

   Plainti alleges that Outrigger violated § 36.302(e) by failing to disclose and describe the inaccessible elements of the Property. ECF No. 25 at 4-5.
   Plainti contends that the "gist of the requirement of 28 C.F.R. § 28.302(e) [sic] is the requirement that a place of lodging, such as [Outrigger's
   Property], disclose both the accessible elements but, more importantly, inaccessible elements of the place of lodging." ECF No. 1 at 4. Plainti asserts
   that, "without a description of inaccessible mobility elements, [Outrigger] fails to comply with 28 C.F.R. § 28.302(e) [sic] as a matter of law," and is thus
   in violation of the ADA. Id. The Court disagrees.

   Title III of the ADA states that "[n]o individual shall be discriminated against on the basis of disability in the full and equal enjoyment of the goods,
   services, facilities, privileges, advantages, or accommodations of any place of public accommodation." 42 U.S.C. § 12182(a). To prevail on an ADA, Title
   III discrimination claim, the plainti must show that "(1) [he] is disabled within the meaning of the ADA; (2) the defendant is a private entity that owns,
   leases, or operates a place of public accommodation; and (3) the plainti was denied public accommodations by the defendant because of her
   disability." Molski v. M.J. Cable, Inc., 481 F.3d 724, 730 (9th Cir. 2007).

   Plainti su ciently alleges that he is an individual with a disability; however, there are several de ciencies with Plainti 's proposed FAC. First,
   Plainti fails to allege su cient facts demonstrating that Outrigger is a proper defendant in this action. Second, the Court nds that Plainti fails to
   state an ADA claim because (1) the Website is not a "place of public accommodation" pursuant to Ninth Circuit case law, and (2) Plainti fails to allege
   su cient facts supporting his claim that the Website's alleged violations denied Plainti "full and equal enjoyment" of the Property's goods, services,
   facilities, or privileges. Third, the Court nds that Plainti does not have standing to proceed in this action. Finally, the Court nds that this district
   court is not the proper venue for Plainti 's claims.



   A. Outrigger as a Defendant

   Plainti 's ADA grievances are related to the Website's failure to "identify and describe mobility related accessibility features and guest rooms o ered
   through the [Website's] reservations service in enough detail to reasonably permit Plainti to assess independently" whether the Property met his
   accessibility needs. ECF No. 25 at 3-4. Plainti contends in his Motion for Leave that "subsequent events required the correction" of the Complaint,
   namely to substitute Outrigger as the entity that "owned, operated, leased or leased [sic]" the Property. ECF No. 31 at 2. Plainti provides no other
   details regarding Outrigger's connection with the Website.

   Indeed, nothing in Plainti 's Complaint nor the exhibits allow this Court to draw the reasonable inference that Outrigger is the entity responsible for
   the Website's alleged ADA violations. Instead, it appears that Hotels.com, L.P., a third-party lodging booking service, is the entity responsible for the
   Website. See https://www.hotels.com/hotel-deals/about-us/ ("Hotels.com, L.P. is part of the EXPEDIA GROUP of travel companies.* Hotels.com, L.P.
   headquarters are located at 5400 LBJ Freeway, Suite 500, Dallas, Texas 75240, USA."). Plainti in fact attaches to his proposed FAC, screenshots from
   www.hotels.com ("hotels.com") instead of an Outrigger website. See ECF No. 25 at 17-22; c.f. Lee v. City of L.A., 250 F.3d 668, 688 (9th Cir. 2001) ("[A]
   court may consider `material which is properly submitted as part of the complaint' on a motion to dismiss without converting the motion to dismiss
   into a motion for summary judgment. . . . If the documents are not physically attached to the complaint, they may be considered if the documents'
   `authenticity . . . is not contested' and `the plainti 's complaint necessarily relies' on them.") (quoting Branch vs. Tunnell, 14 F.3d 449, 453 (1994)
   overruled on other grounds by Parrino v. FHP, Inc., 146 F.3d 699, 705-06 (9th Cir. 1998)).

   Because neither his Motion for Leave nor his proposed FAC alleges facts su cient to establish that Outrigger is indeed liable for the Website's alleged
   ADA violations, the Court DENIES Plainti leave to le the proposed FAC to add Outrigger as a defendant. See Evans v. Mass. Nurses' Ass'n, No. CIV. 13-
   00272 SOM, 2013 WL 3731104, at *1 (D. Haw. July 12, 2013) (explaining that only a complaint that "states a plausible claim for relief" survives a Rule
   12(b)(6) motion to dismiss, and to state such a claim, "the complaint must, at a minimum, plead factual content that allows the court to draw the
   reasonable inference that the defendant is liable for the misconduct alleged.").

   In addition, the Court notes that Part 36 of the Americans with Disabilities Act, Title III regulations issued by the Department of Justice, explicitly
   provides that hotels or other places of lodging will not be responsible for failures of third-party services to provide information to people with
   disabilities in accordance with section 36 302(e)(1)
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   disabilities in accordance with section 36.302(e)(1):

      Hotels and other places of lodging that use third-party reservations services must make reasonable e orts to make accessible rooms available
      through at least some of these services and must provide these third-party services with information concerning the accessible features of the
      hotel and the accessible rooms. To the extent a hotel or other place of lodging makes available such rooms and information to a third-party
      reservation provider, but the third party fails to provide the information or rooms to people with disabilities in accordance with this section, the
      hotel or other place of lodging will not be responsible.

   Department of Justice, Americans with Disabilities Act Title III Regulations: Nondiscrimination on the Basis of Disability by Public Accommodations and
   in        Commercial          Facilities,      current        as       of       January       17,      2017;       also       available       online     at
   https://www.ada.gov/regs2010/titleIII_2010/titleIII_2010_regulations.htm#anchor3 508 ("DOJ ADA Guidance"); see also Barnes v. Marriott Hotel
   Servs., Inc., No. 15-CV-01409-HRL, 2017 WL 635474, at *4 (N.D. Cal. Feb. 16, 2017) (taking judicial notice of the DOJ ADA Guidance as it is "a publication
   by a federal agency . . . `capable of accurate and ready determination by resort to sources whose accuracy cannot reasonably be questioned'") (quoting
   Corrie v. Caterpillar, Inc., 503 F.3d 974, 978 n.2 (9th Cir. 2007) (taking notice of a government publication)). Accordingly, even if Plainti were to amend
   his Complaint, any allegations against Outrigger concerning the Website's alleged ADA violations would be futile.



   B. Stating a Claim Under Title III of the ADA

   As explained previously in this order, in addition to showing that he is disabled within the meaning of the ADA, Plainti is required to show that the
   defendant is a private entity that owns, leases, or operates a place of public accommodation and that the defendant denied Plainti public
   accommodations because of his disability. The Court nds that Plainti fails to plausibly allege that the Website constitutes a public accommodation
   and that Outrigger discriminated against him because his disability.



   1. Place of Public Accommodation

   The Ninth Circuit's de nition of "public accommodation" is narrower than that of other courts. See Jancik v. Redbox Automated Retail, LLC, No. SACV
   13-1387-DOC (RNBx), 2014 WL 1920751, at *8 (C.D. Cal. May 14, 2014) ("This Court is bound by Ninth Circuit precedent . . . . Therefore, it must apply
   Ninth Circuit law as it stands now, following the lead of other district courts sitting in the Ninth Circuit that have applied the narrow de nition of "place
   of public accommodation."); Nat'l Fed'n of the Blind v. Target Corp., 452 F.Supp.2d 946, 952 (N.D. Cal. 2006) ("The Ninth Circuit has declined to join
   those circuits which have suggested that a `place of public accommodation' may have a more expansive meaning."). The Ninth Circuit has concluded
   that the ADA covers only "actual, physical places where goods or services are open to the public, and places where the public gets those goods or
   services." Weyer v. Twentieth Century Fox Film Corp., 198 F.3d 1104, 1114 (9th Cir. 2000). A website may also constitute a place of public accommodation
   in this circuit; however, the website must have a su cient nexus to a physical place of public accommodation to qualify as a "place of public
   accommodation" under the ADA. See, e.g., Robles v. Domino's Pizza, LLC, 913 F.3d 898, 905 (9th Cir. 2019) (concluding that Domino's website is a
   "place of public accommodation" because "Domino's website and app facilitate access to the goods and services of a place of public accommodation—
   Domino's physical restaurants"); Young v. Facebook, Inc., 790 F.Supp.2d 1110, 1115 (N.D. Cal. 2011) (rejecting a blind plainti 's ADA claim that
   Facebook's website was a place of public accommodation because, "[w]hile Facebook's physical headquarters obviously is a physical space, it is not a
   place where the online services to which [plainti ] claims she was denied access are o ered to the public.").

   Here, the Website is not a physical place. Nor does Plainti allege any facts establishing that the services the Website denied him has any nexus to the
   actual Property. One of the problems with Plainti 's proposed FAC is that, unlike hotel operators that provide websites that directly connect customers
   to its physical facility, hotels.com is a third-party entity that connects customers to numerous independent and major chain hotels and properties
   worldwide. https://www.hotels.com/hotel-deals/about-us/. Even assuming hotels.com has a physical place in connection with its website, the facts
   alleged in support of Plainti 's ADA claim relate to his inability to obtain facts about the Property, not the goods and services provided at hotels.com's
   physical place. See, e.g., Stoutenborough v. Nat'l Football League, Inc., 59 F.3d 580, 583 (6th Cir. 1995) ("The televised broadcast of football games is
   certainly o ered through defendants, but not as a service of public accommodation. It is all of the services which the public accommodation o ers, not
   all services which the lessor of the public accommodation o ers which fall within the scope of Title III."); Young, 790 F. Supp. 2d at 1115 ("While the
   retail stores that sell Facebook gift cards may be places of accommodation, Young does not allege that Facebook, Inc. `owns, leases (or leases to) or
   operates' those stores. Facebook's internet services thus do not have a nexus to a physical place of public accommodation for which Facebook may be
   liable under the statute.").

   The Court thus concludes that the Website is not a place of "public accommodation" within the meaning of § 12182(a) as de ned by the Ninth Circuit.
   See Weyer, 198 F.3d 1104, 1114 (9th Cir. 2000) (opining that Title III's exhaustive list of "public accommodations" in 42 U.S.C. § 12181(7) list "actual,
   physical places where goods or services are open to the public, and places where the public gets those goods or services"); see also Gomez v. Bang &
   Olufsen Am., Inc., No. 1:16-CV-23801, 2017 WL 1957182, at *4 n.3 (S.D. Fla. Feb. 2, 2017) ("If Congress—recognizing that the internet is an integral part
   of modern society— wishes to amend the ADA to de ne a website as a place of public accommodation, it may do so. But the Court, having no legislative
   power, cannot create law where none exist."). Accordingly, Plainti fails to state a claim upon which relief may be granted.


   2. Denial of Full and Equal Enjoyment of Services or Facilities

   In addition to Plainti 's failure to allege su cient facts to establish that the Website is a "place of public accommodation," Plainti 's proposed ADA
   claim also fails because Plainti does not allege any facts establishing that the Website denied him full and equal enjoyment of Outrigger's facilities.
   Instead, Plainti alleges that he was unable to obtain information about "inaccessible" mobility elements of the Property from the hotels.com website;
   thus, he was unable to assess independently whether the Property met his accessibility needs and therefore, unable to "make reservations for accessible
   guest rooms available in the same manner as individual who do not need accessible rooms." ECF No. 25 at 4. Plainti misapplies ADA law.

   "Title III prohibits discrimination in the enjoyment of the "`goods, services, facilities, privileges, advantages, or accommodations of any place of public
   accommodation.'" Ariz. ex rel. Goddard v. Harkins Amusement Enters., 603 F.3d 666, 671 (9th Cir. 2010). Title III does not, however, require "provision

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   of di erent goods or services, just nondiscriminatory enjoyment of those that are provided." Id. "Thus, a bookstore cannot discriminate against
   disabled people in granting access, but need not assure that the books are available in Braille as well as print." Id.

   Similarly, the owner, lessor, lessee, or operator of a public accommodation must ensure that the accommodation is physically accessible to the disabled,
   but need not provide accommodations that treats the disabled equally with the non-disabled. Id. ("[A]n insurance o ce must be physically accessible to
   the disabled but need not provide insurance that treats the disabled equally with the non-disabled."); see also Gomez, 2017 WL 1957182, at *4
   (reasoning that "[a]ll the ADA requires is that, if a retailer chooses to have a website, the website cannot impede a disabled person's full use and
   enjoyment of the brick-and-mortar store").

   Plainti nonetheless fails to plead factual content that allows the Court to draw the reasonable inference that Outrigger, or any other entity, denied
   Plainti full and equal enjoyment of the Property because of his disability. Plainti fails to cite to any legal authority providing that failure to detail all
   accessible and inaccessible elements of a public accommodation results in an ADA violation. Id. at *3 ("To survive a motion to dismiss, Plainti must
   claim an actual (not hypothetical) impediment to the use of Defendant's retail location.").

   In addition, there is a critical distinction "between an inability to use a website to gain information about a physical location and an inability to use a
   website that impedes access to enjoy a physical location," the former being "insu cient to state a claim." Price v. Everglades Coll., Inc., No. 6:18-cv-
   492-Orl-31GJK, 2018 WL 3428156, at *2 (M.D. Fla. July 16, 2018). The Court nds that, as a matter of law, Plainti 's allegation that he was unable to use
   a third-party website to gain information about the Property neither establishes that the Website is a "place of public accommodation," nor does it
   establish that the Property discriminated against him because of his disability. Id. at *2 ("While a nexus is obviously a requirement, alleging the mere
   existence of some connection or link between the website and the physical location is not su cient.") (footnote omitted).

   Plainti 's allegations are unrelated to any harm he actually su ered at the Property and even further, unrelated to an inability to use the Website to
   reserve a room at the Property because of the Website's functioning. See, e.g., id. ("[A] review of the Complaint reveals that the Plainti alleges only
   facts indicating that his ability to gain information about the location, rather than his access to enjoyment of the university itself, was compromised. . . .
   Plainti does not claim that he was unable to apply to the university, pay tuition, or use the student portal on the website."). The Court thus nds that
   Plainti fails to state a claim upon which relief can be granted.



   C. Standing

   Plainti asserts that he is an ADA tester. ECF No. 25 at 1. The Ninth Circuit has indeed held that a plainti suing under Title III of the ADA may claim
   tester standing. Civil Rights Educ. & Enf't Ctr. v. Hosp. Props. Tr., 867 F.3d 1093, 1102 (9th Cir. 2017). Plainti is not, however, excused from establishing
   Article III standing, which requires Plainti to establish that he su ered "an injury-in-fact, that the injury is traceable to the [defendant's] actions, and
   that the injury can be redressed by a favorable decision." Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011)). As explained above,
   Plainti fails to establish any injury.

   Plainti alleges that he is deterred from visiting the Property based on his knowledge that the Property is not ADA or state law compliant. ECF No. 25 at
   3. Plainti fails, however, to establish that anything on the Property is indeed not compliant with the ADA. Plainti does not allege any facts
   demonstrating any imminent injury or that there is an actual ADA violation on the Property. Thus, Plainti fails to allege any facts demonstrating that
   he was injured by Outrigger's alleged failure to comply with the ADA. Hosp. Props. Tr., 867 F.3d at 1102 ( nding that the plainti s had tester standing
   and had adequately alleged an injury-in-fact when they alleged that they were deterred from visiting the defendant's hotel because the defendant
   informed them that they provided shuttle service for its guests, but did not provide shuttle service for mobility impaired guests).

   Plainti 's proposed FAC lacks any facts indicating that Plainti su ered an injury-in-fact. Accordingly, this Court lacks jurisdiction to consider
   Plainti 's ADA claim. Harris v. Stonecrest Care Auto Ctr., LLC, 472 F.Supp.2d 1208, 1220 (S.D. Cal. 2007) ("Because [the plainti ] lacks Article III
   standing to pursue claims under Title III of the ADA, the Court lacks jurisdiction to hear this claim."). D. Venue

   Plainti 's alleged injury was that, because the Website failed to provide information about inaccessible elements of the Property, Plainti was deterred
   from visiting the Property. The alleged injury thus did not take place in Hawaii; it took place in Arizona. As explained by the district court in Arizona in
   two cases in which Plainti was counsel, "in cases involving `non-physical torts, courts generally hold that venue under section 1391(a)(2) is proper in
   the district where the injured party resides . . . .'" Brooke v. Hotel Inv. Grp., Inc., No. 2:17-CV-2527-HRH, 2017 WL 4124042, at *3 (D. Ariz. Sept. 18,
   2017); Brooke v. Regency Inn-Downey, LLC, No. 2:17-cv-2115-HRH, 2017 WL 4124043, at *2 (D. Ariz. Sept. 18, 2017) (quoting Capital Corp. Merchant
   Banking, Inc. v. Corp. Colocation, Inc., Case No. 6:07-cv-1626-Orl-19KRS, 2008 WL 4058014, at *3 (M.D. Fla. 2008)).

   Plainti alleges that this district court has venue pursuant to 28 U.S.C. § 1391. The Court disagrees. Section 1391 provides that a civil action may be
   brought in a judicial district in which: (1) "any defendant resides, if all defendants are residents of the State in which the district is located"; or (2) "a
   substantial part of the events or omissions giving rise to the claim occurred, or a substantial part of property that is the subject of the action is situated."
   28 U.S.C. § 1391(b). As explained above, the Court nds that Outrigger is not a proper defendant. There is no evidence that hotels.com is located here in
   Hawaii. In addition, none of the events detailed in the proposed FAC occurred here in Hawaii. Indeed, Plainti alleges that he lives in Arizona and
   attempted to make reservations on a website. Based on Plainti 's allegations, Plainti 's proposed FAC is subject to dismissal for improper venue.
   Regency Inn-Downey, LLC, 2017 WL 4124043, at *2 (denying the defendant's motion to dismiss for improper venue because the plainti was in Arizona
   when she attempted to book a room reservation on defendant's website, and the alleged injury, plainti 's inability to book an ADA-accessible room on
   defendant's website, took place in Arizona"). Accordingly, granting Plainti leave to amend his Complaint would be futile as this Court nds that the
   district of Hawaii is not the proper venue for Plainti 's lawsuit, and no amendment could cure this defect.



   III. Dismissal of Federal Claims with Prejudice

   This Court nds that the allegations in Plainti 's proposed FAC are insu cient to state a claim against Law Defendants or Outrigger. Indeed, this Court
    nds that it is absolutely clear that the de ciencies of the proposed FAC cannot be cured by amendment. Creamer v. Cty. of Kauai, No. CV 16-00648 HG-
   KJM, 2018 WL 3469007, at *12 (D. Haw. July 18, 2018) (citing Karim-Panahi v. L.A. Police Dept., 839 F.2d 621, 623 (9th Cir. 1988) ("A pro se litigant must
   be given leave to amend his or her complaint unless it is absolutely clear that the de ciencies of the complaint may not be cured by amendment.")).
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   Accordingly, this Court recommends that the district court dismiss Plainti 's claims against Law Defendants and dismiss Plainti 's ADA claim with
   prejudice. Kamakeeaina v. City & Cty. of Honolulu, No. CIV. 11-00770 SOM-RLP, 2012 WL 3113174, at *8 (D. Haw. July 31, 2012) ("Because Plainti was
   given leave to amend this claim before, and because even the excruciating detail in his original Complaint and FAC are insu cient to state an equal
   protection claim, it appears that amendment is futile. Plainti 's equal protection claims are DISMISSED with prejudice."). See also Wright v.
   Anthony, 733 F.2d 575, 577 (8th Cir. 1984) ("Here, the complaint on its face shows that no cause of action can be stated against the defendants and that
   a dismissal with leave to amend would serve no useful purpose. Therefore, the district court clearly was acting within its discretion in dismissing the
   complaint with prejudice.").


   IV. Hawaii State Claims

   Because this Court recommends that the district court dismiss Plainti 's federal claim with prejudice, the Court nds that declining jurisdiction over
   the state claims is proper in this instance. United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966) ("Certainly, if the federal claims are dismissed
   before trial, even though not insubstantial in a jurisdictional sense, the state claims should be dismissed as well."). The Court nds that this district
   court lacks original jurisdiction over the state claims alleged in Plainti 's proposed FAC. Accordingly, the Court FINDS and RECOMMENDS that the
   district court DISMISS WITHOUT PREJUDICE Plainti 's remaining state claims for lack of jurisdiction. Exxon Mobil Corp. v. Allapattah Servs., Inc., 545
   U.S. 546, 558 (2005) ("[28 U.S.C. §] 1367(a) is a broad grant of supplemental jurisdiction over other claims within the same case or controversy, as long
   as the action is one in which the district courts would have original jurisdiction.").



   CONCLUSION

   The Court nds that Plainti fails to state a claim against Law Defendants and fails to state a claim under Title III of the ADA. The Court nds that
   granting Plainti leave to amend his complaint would be futile and thus, DENIES Plainti 's Motion for Leave and FINDS and RECOMMENDS that the
   district court DISMISS WITH PREJUDICE Plainti 's federal claims and DISMISS WITHOUT PREJUDICE Plainti 's Hawaii state claims for lack of original
   jurisdiction. JJCO, Inc. v. Isuzu Motors Am., Inc., No. CV 08-00419 SOM-LEK, 2009 WL 3818247, at *2 (D. Haw. Nov. 12, 2009) ("A magistrate judge's
   jurisdiction to enter an order, rather than to issue recommendations to the district court, is dependent on whether the matter before that magistrate
   judge is characterized as dispositive or nondispositive of a claim or defense of a party. . . . The court must look to the `e ect of the motion' to determine
   whether it is dispositive or nondispositive of a claim or defense of a party.'") (quoting United States v. Rivera-Guerrero, 377 F.3d 1064, 1068 (9th Cir.
   2004)).

   IT IS SO FOUND AND RECOMMENDED.



   FootNotes

   1. (1) Reservations made by places of lodging. A public accommodation that owns, leases (or leases to), or operates a place of lodging shall, with respect
   to reservations made by any means, including by telephone, in-person, or through a third party—
      (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities can make reservations for accessible guest rooms during
      the same hours and in the same manner as individuals who do not need accessible rooms;
      (ii) Identify and describe accessible features in the hotels and guest rooms o ered through its reservations service in enough detail to reasonably
      permit individuals with disabilities to assess independently whether a given hotel or guest room meets his or her accessibility needs;
      (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities until all other guest rooms of that type have been rented
      and the accessible room requested is the only remaining room of that type . . . .

   28 CFR § 36.302(e).




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